                Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 1 of 28 PageID #:1

 AO 91 (Rev. 11/11) Criminal Complaint
                                                                               FIL7E/2D                   AO
                                                                   AUSA Christopher V. Parente (312) 886-2447
                                         UNITED STATES DISTRICT COURT                 020
                                         NORTHERN DISTRICT OF ILLINOIS              9/1
                                                                                            . BRUTO    N
                                              EASTERN DIVISION                    THOMA.SDG
                                                                                          IS T R IC T COURT
                                                                               CLERK, U.S
 UNITED STATES OF AMERICA

                            v.
                                                        CASE NUMBER:
                                                                            20CR637
 JEREMIAH HARRIS,                                        Under Seal




                                             CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
        Beginning from approximately December 2018 and continuing to approximately March
2020, at Naperville, in the Northern District of Illinois, Eastern Division, and elsewhere, the
defendant violated:
      Code Section                                    Offense Description
      Title 18, United States Code, Section           knowingly employed, used, persuaded, induced,
      2251(a)                                         enticed, and coerced a minor, namely Minor 1, to
                                                      engage in sexually explicit conduct for the purpose of
                                                      producing a visual depiction of such conduct, which
                                                      visual depiction defendant knew and had reason to
                                                      know would be transported and transmitted using any
                                                      means and facility of interstate and foreign commerce,
                                                      and which visual depiction was transported and
                                                      transmitted using any means and facility of interstate
                                                      and foreign commerce

     This criminal complaint is based upon these facts:
       X    Continued on the attached sheet.                /s/ Edward Augustus Goodman (MDW with permission)

                                                           EDWARD AUGUSTUS GOODMAN
                                                           Special Agent, Federal Bureau of Investigation
                                                           (FBI)

Subscribed and sworn telephonically this 17th day of September, 2020.

 Date: September 17, 2020
                                                                        Judge’s signature

 City and state: Chicago, Illinois                     M. David Weisman, U.S. Magistrate Judge
                                                                      Printed name and Title
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 2 of 28 PageID #:2




 UNITED STATES DISTRICT COURT
                                             Ss
 NORTHERN DISTRICT OF ILLINOIS

                                     AFFIDAVIT

      I, EDWARD AUGUSTUS GOODMAN, being duly sworn, state as follows:

      1.     I am a Special Agent with the Federal Bureau of Investigation, and have

been so employed since approximately June 2010. As part of my duties as an FBI

Special Agent, I investigate criminal violations relating to child exploitation and child

pornography, including violations pertaining to the illegal production, distribution,

receipt, and possession of child pornography, in violation of Title 18, United States

Code, Sections 2251, 2252, and 2252A.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that Jeremiah HARRIS (HARRIS), has violated Title 18, United States Code, Section

2251(a).   Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging HARRIS

with production of child pornography, I have not included each and every fact known

to me concerning this investigation. I have set forth only the facts that I believe are

necessary to establish probable cause to believe that the defendant committed the

offense alleged in the complaint.

      3.     This affidavit is based on my personal knowledge, and on information I

have received from other law enforcement personnel and from persons with

knowledge regarding relevant facts, including HARRIS.
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 3 of 28 PageID #:3




I.    FACTS SUPPORTING PROBABLE CAUSE

      A.    Summary of the Investigation

      4.    As described more fully below, law enforcement was recently contacted

by the parent (Individual A) of two 14 year old male children (Minors 1 and 2)

regarding allegations that an individual named Jerry HARRIS had contacted Minor

1 and Minor 2 online and repeatedly solicited child pornography images and videos

from Minors 1 and 2. Individual A discovered the child pornography images and

videos on Minor 1’s cell phone and confronted Minor 1 about the images. Minor 1

identified HARRIS as the individual who requested the images and videos, and Minor

1 provided Individual A with text messages and screenshots corroborating a

relationship between Minor 1 and HARRIS.

      5.    Minor 1 stated that between December 2018 when HARRIS first

contacted him online, and March 2020 when Minor 1 stopped speaking to HARRIS,

at HARRIS’ request, Minor 1 had sent HARRIS over a dozen photographs and videos

of Minor 1 depicting Minor 1’s penis and anus. Minor 1 stated that HARRIS sent

Minor 1 photographs of HARRIS’ penis, as well as videos of HARRIS masturbating.

Minor 1 informed HARRIS that he was 13 years old in their initial online encounter.

      6.    Minor 1 further reported one in-person encounter between Minor 1 and

HARRIS where HARRIS solicited oral sex from Minor 1 in a bathroom at a

cheerleading event both HARRIS and Minor 1 attended. Minor 1 also reported a

second attempt by HARRIS to meet Minor 1 for an in-person sexual encounter when

Minor 1 was at a cheer competition that HARRIS also attended.




                                        2
      Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 4 of 28 PageID #:4




       7.     In a voluntary interview with law enforcement on September 14, 2020,

HARRIS admitted to asking Minor 1 to take photographs and videos of Minor 1’s

penis and buttocks and to send the photos and videos to HARRIS through Snapchat,

knowing that Minor 1 was 13 years old. 1 HARRIS further admitted to engaging in

ongoing Snapchat conversations with Minor 1 beginning in December 2018 and

continuing through March 2020, during which time HARRIS repeatedly asked Minor

1 to send him photographs and videos depicting Minor 1’s penis and buttocks areas.

HARRIS acknowledged to law enforcement that he in fact received such photos and

videos from Minor 1 through the Snapchat application.

       B.     BACKGROUND INFORMATION

              a.     Interview of Individual A

       8.     On September 2, 2020, Individual A, who is the mother of two twin boys

who are both currently 14 years old, was interviewed by law enforcement. Individual

A stated that both of her sons, Minor 1 and Minor 2, are competitive cheerleaders

who travel to competitions and camps in multiple states.

       9.      Individual A stated that in approximately February 2020 she accessed

Minor 1’s cell phone and reviewed its contents. Individual A reviewed a text message

purportedly from HARRIS to Minor 1 in which HARRIS stated he did not think he

should be friends with Minor 1 on Snapchat anymore and that HARRIS was feeling



1 Snapchat is messaging application developed by Snap Inc. which allows users to
communicate by text message and exchange photographs and videos. One of the principal
features of Snapchat is that pictures and messages are usually only available for a short time
before they are deleted. The Snapchat application uses the internet to send and receive
messages.



                                              3
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 5 of 28 PageID #:5




sorry for something he had done in the past involving Minor 1. Individual A reviewed

the entire text string between HARRIS and Minor 1 and found messages from

HARRIS to Minor 1 asking Minor 1 to meet HARRIS privately. These messages were

from May 2019 when Individual A stated Minor 1 was at a cheer competition out of

state.

         10.   Individual A stated she confronted Minor 1 about the text messages with

HARRIS, and Minor 1 stated that HARRIS had been communicating with him on

Snapchat for over one year. Minor 1 told Individual A that HARRIS constantly

requested Minor 1 to send HARRIS photographs and videos. Individual A asked

Minor 1 what type of photos and videos he sent to HARRIS, and Minor 1 would not

respond.

         11.   Individual A accessed Minor 1’s Snapchat account on Minor 1’s cell

phone and reviewed the contents. Individual A found nothing alarming in her initial

review of the Snapchat account. Individual A later did internet research of Snapchat

and learned of a folder called “my eyes only” (MEO) which allows Snapchat users to

keep certain messages hidden on their account. Individual A again confronted Minor

1 and asked him to show her his MEO folder on Snapchat. Minor 1 accessed his MEO

folder on his cell phone and provided his cell phone to Individual A.

         12.   Individual A reviewed files in Minor 1’s MEO folder on Snapchat and

viewed an approximately minute long video of a black male sitting on a bed

masturbating. The face of the individual was not visible in the video. Individual A




                                           4
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 6 of 28 PageID #:6




asked Minor 1 who was depicted in the video, and Minor 1 stated it was HARRIS.

Individual A also located photographs of a black male’s penis in Minor 1’s MEO folder.

      13.       Individual A also located in Minor 1’s MEO folder on Snapchat

approximately 12 to 15 photographs and videos of Minor 1 in which Minor 1 was

naked and stretching, doing cheer poses, and/or showing his anus to the camera.

Individual A asked Minor 1 why all of these photos and videos were saved on his

Snapchat account. Minor 1 stated HARRIS constantly requested that Minor 1 take

these types of photos and videos for HARRIS, and Minor 1 only wanted to do the

things depicted in the photos and videos one time so he saved them to resend to

HARRIS on future occasions.

      14.       Individual A stated she immediately instructed Minor 1 to delete all of

the photographs and videos from the MEO folder, which Minor 1 did.

      15.       Individual A stated that in further discussions with Minor 1 about

HARRIS, Minor 1 told Individual A about meeting HARRIS in person at a cheer camp

that took place in February 2019. Minor 1 told Individual A that at the camp HARRIS

entered a bathroom with Minor 1 and solicited oral sex from Minor 1. Minor 1 refused

and eventually left the bathroom telling HARRIS he was going to be late for warmups

and had to go join his team.

      16.       Individual A provided law enforcement with multiple screenshots of

communications between HARRIS and Minors 1 and 2 that she obtained from Minor

1 and Minor 2’s cell phones. These text exchanges and screenshots are discussed in

detail below.




                                            5
        Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 7 of 28 PageID #:7




                 b.     Interview of Minor 1

         17.     On August 28, 2020, Minor 1 was forensically interviewed by a trained

child forensic interviewer. Minor 1 stated he was initially contacted by HARRIS on

Instagram in 2018. In that initial communication, a copy of which is depicted in

Paragraph 24 below, Minor 1 stated HARRIS asked him how old he was and Minor 1

told HARRIS he was 13 years old. 2 After learning that Minor 1 was 13 years old,

HARRIS stated, “Oh ok have any pics?” Minor 1 responded, “what type of pics.”

HARRIS responded, “Face picd” “and booty.” Minor 1 stated that HARRIS instructed

Minor 1 to connect to him on Snapchat for further conversations, which Minor 1 did.

Minor 1 stated he had multiple Snapchat conversations with HARRIS in which

HARRIS repeatedly requested Minor 1 to send HARRIS naked photos and videos of

Minor 1 to HARRIS, which Minor 1 did.

         18.     Minor 1 stated that, between December 2018 through March 2020, he

sent HARRIS multiple nude photographs and videos of Minor 1 through Snapchat.

Minor 1 also recalled having FaceTime calls with HARRIS in which HARRIS asked

Minor 1 to “bend over more” and show me “your butthole.”

         19.     During his forensic interview, Minor 1 referenced a specific request from

HARRIS in response to a photograph of Minor 1 that Minor 1 posted of himself doing

a cheerleading maneuver called “the needle.”          Minor 1 stated after posting this




2   Minor 1 was in fact 13 years old at the time.



                                                6
        Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 8 of 28 PageID #:8




photograph, HARRIS contacted him by Snapchat and asked him, “Do it naked and

take a video and show me 😉😉” 3

         20.    Minor 1 further recounted an in-person encounter he had with HARRIS

at a cheer competition in February 2019. Minor 1, who was 13 years old at the time,

stated that HARRIS followed him into a bathroom and solicited oral sex from Minor

1. Minor 1 said he refused and that eventually he left the bathroom and went back

to join his team.

         21.    Minor 1 stated that just three months later, in May 2019, at another

cheer event, HARRIS again attempted to solicit Minor 1 for a sexual encounter

through a text communication. Minor 1 again refused. A copy of this communication

is depicted below in Paragraph 25.

                c.     Interview of Minor 2

         22.    On August 28, 2020, Minor 2 was forensically interviewed by a trained

child forensic interviewer. During the interview, Minor 2 stated that HARRIS was

“touchy” and did “odd things” to him and his brother, Minor 1. Minor 2 stated that

HARRIS contacted Minor 2 on Snapchat and had asked him to send him “nude

pictures” of himself and photos “naked with your butt.” Minor 2 stated he always

said no to HARRIS’ requests. Minor 2 stated HARRIS would get “pushy” and make

Minor 2 feel guilty for not sending HARRIS nude photographs. Minor 2 recalled one

specific communication from HARRIS in which HARRIS asked Minor 2 if he wanted

to meet in person for a sexual encounter. A photograph of this exchange is depicted


3   A screenshot of this communication is depicted below in paragraph 28.



                                               7
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 9 of 28 PageID #:9




below in Paragraph 27. Minor 2 explained that he interpreted HARRIS’ use of four

stars to mean the word “fuck.” 4

             d.     Forensic Review of Minor 1 and Minor 2’s Cell Phones

      23.    On August 26, 2020, Minor 1 and Minor 2’s cell phones were provided to

law enforcement. A forensic copy of the phones were made and are being analyzed

by law enforcement. A saved contact in both Minor 1 and Minor 2’s cell phone was

the name “jerry harris.” The telephone number associated with the “jerry harris” in

both Minor 1 and Minor 2’s phones was xxx-xxx-3709.              Law enforcement has

associated this xxx-xxx-3709 number as belonging to HARRIS in two ways. First,

during his interview with law enforcement described below, HARRIS admitted that

the xxx-xxx-3709 number was his telephone number at the time he communicated

with Minors 1 and 2. Second, a former employer of HARRIS stated that HARRIS

provided the xxx-xxx-3709 number as his contact number.

               e.   Text Messages Between HARRIS and Minor 1 and Minor 2.

      24.    Individual A provided law enforcement with screenshots of multiple text

message communications she located on Minor 1 and Minor 2’s cell phones. Below is

the exchange Minor 1 identified as the initial contact between HARRIS and Minor

1. 5 In the exchange, Minor 1 tells HARRIS he is 13 years old immediately before

HARRIS inquires whether he has any “booty” pictures.



4 HARRIS confirmed in his interview with law enforcement that he intended the use of the
four **** symbols to mean the word “fuck.”
5For privacy reasons I have redacted Minor 1’s face. I have viewed photographs and a video
of Minor 1 and the individual in the photograph appears to be Minor 1.



                                            8
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 10 of 28 PageID #:10




                                    9
    Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 11 of 28 PageID #:11




      25.     As discussed above in Paragraph 21, Minor 1 stated that HARRIS

reached out to him for purposes of a sexual encounter while Minor 1 attended a cheer

competition in May 2019. Individual A provided two text messages recovered from

Minor 1’s cell phone that corroborate this allegation. As depicted below, HARRIS,

who was 19 years old at the time, reached out to Minor 1, who was 13 years old at the

time and stated, “I found a place for us to do stuff it’s actually pretty good haha.”

Minor 1 stated he interpreted this to mean HARRIS had found a location for them to

engage in a sex act together. 6




6HARRIS admitted in his interview with law enforcement his intent was to engage in oral
sex with Minor 1 inside a bathroom he located in the area.



                                          10
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 12 of 28 PageID #:12




                                    11
    Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 13 of 28 PageID #:13




      26.    As noted above in Paragraph 20, Minor 1 described an incident that

occurred with HARRIS at a cheer competition in February 2019, in which Minor 1

stated HARRIS followed Minor 1 into a bathroom and solicited oral sex from Minor

1. Individual A provided law enforcement with a photograph depicting Minor 1 with

HARRIS at that event. 7 As noted below, in his interview with law enforcement

HARRIS admitted to following Minor 1 to the bathroom at this event and attempting

to solicit oral sex from Minor 1. The photo is depicted below:




7For privacy reasons I have redacted Minor 1’s face. I have viewed photographs and a video
of Minor 1 and the individual in the photograph appears to be Minor 1.



                                           12
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 14 of 28 PageID #:14




                                    13
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 15 of 28 PageID #:15




       27.   As noted above in Paragraph 22, Minor 2 described a communication he

received from HARRIS on Snapchat in which he stated HARRIS solicited him for a

sexual encounter.    Individual A provided a photo of this communication to law

enforcement and it appears below. As noted above, Minor 2 stated HARRIS sent him

this message on Snapchat and Minor 2 stated he interpreted this message to be

HARRIS asking Minor 2 if he would be willing to engage in a sex act with HARRIS.

Specifically, Minor 2 interpreted the four stars at the end of the message to mean

“fuck.” 8




8HARRIS admitted in his interview with law enforcement that he used the four **** symbols
to mean the word “fuck.”



                                           14
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 16 of 28 PageID #:16




                                    15
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 17 of 28 PageID #:17




       28.     In another screenshot photo provided by Individual A to law

enforcement, it appears to show HARRIS asking Minor 1 to send him a photo/video

of Minor 1 doing a cheerleading position known as “the needle” naked. The first photo

below is the original photograph of Minor 1 doing the needle in which Minor 1 later

posted to one of his social media accounts. 9 The second photo below is the screenshot

provided to law enforcement by Individual A in which a Snapchat user with the name

“jerry harris” asked Minor 1 to “do it naked take a video and show me,” followed by a

winking emoji.     Minor 1 identified this message as coming from HARRIS on

Snapchat. 10




9For privacy reasons I have redacted Minor 1’s face. I have viewed photographs and a video
of Minor 1 and the individual in the photograph appears to be Minor 1.
10HARRIS admitted in his interview with law enforcement that he sent this message to
Minor 1 on Snapchat.



                                           16
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 18 of 28 PageID #:18




                                    17
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 19 of 28 PageID #:19




                                    18
       Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 20 of 28 PageID #:20




          29.    In another screenshot provided by Individual A to law enforcement, the

screenshot depicts a series of images of Minor 1 nude along with another photograph

of an individual who resembles HARRIS in a separate photograph. Minor 1 identified

this screenshot as a view of a portion of the recent photographs and videos shared

between Minor 1 and HARRIS using Snapchat. 11 Minor 1 placed virtual stickers over

some of the images for privacy reasons. 12 Included in this image is a screenshot of a

video which appears to be of HARRIS. 13




11I am familiar with the Snapchat program and based on my experience there is an option
for a Snapchat user to view all image and video files recently shared between two Snapchat
users. This image appears to document the images and videos shared between Minor 1’s
account and the account believed to belong to HARRIS.
12   I added an additional redaction to the photograph in order to protect Minor 1’s privacy.
13In his interview with law enforcement HARRIS confirmed this photograph accurately
depicts some of the photos and videos exchanged between HARRIS and Minor 1 on Snapchat.



                                                19
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 21 of 28 PageID #:21




                                    20
    Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 22 of 28 PageID #:22




      30.    In another two screenshots provided by Individual A to law enforcement,

the images appear to document a text communication between Minor 1 and HARRIS.

The exchange is dated February 7, and Minor 1 stated the exchange occurred this

year. In the exchange, Minor 1 asked HARRIS why HARRIS blocked Minor 1 on

Snapchat. HARRIS told Minor 1, “I don’t think we should be friends on Snap.” When

Minor 1 asked why, HARRIS responded, “I’m sorry for what I’ve done in the past. I

don’t think it’s a good idea we be friends on Snap.” Minor 1 explained that he

interpreted HARRIS saying “I’m sorry for what I’ve done in the past” to mean he was

sorry for the things he had asked Minor 1 for in the past. HARRIS, who was 20 years

old at the time, concluded the text telling Minor 1, who was 14 years old at the time,

“you are so sweet. You didn’t have to say this. But I love you too! Have a good night

sleep ♥.” The exchange concluded at approximately 12:35a.m.




                                         21
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 23 of 28 PageID #:23




                                    22
Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 24 of 28 PageID #:24




                                    23
   Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 25 of 28 PageID #:25




               f.    Interview of HARRIS

      31.      On September 14, 2020, law enforcement interviewed HARRIS at his

residence. During the interview, HARRIS made the following material admissions:

      •     HARRIS admitted to sending the message depicted in Paragraph 24 above
            in which Minor 1 stated he was 13 years old, and HARRIS admitted to
            immediately asking Minor 1 to send him photographs of his “booty.”

      •     HARRIS admitted to engaging in continuous Snapchat conversations with
            Minor 1 between December 2018 and March 2020 in which HARRIS
            repeatedly asked Minor 1 to send HARRIS naked photographs of Minor 1,
            including photographs of Minor 1’s penis and buttocks, which Minor 1 sent
            to HARRIS over the Snapchat application.

      •     HARRIS stated he received images and/or videos from Minor 1 in response
            to his requests at least approximately once a month throughout the
            duration of their Snapchat discussion.

      •     HARRIS admitted to sending Minor 1 photographs of HARRIS’ penis over
            the Snapchat application.

      •     HARRIS admitted he engaged in the above-described Snapchat
            conversations with Minor 1 from his residence in Illinois, as well as in
            Florida, Texas, and Kentucky.

      •     HARRIS admitted to attempting to entice Minor 1 to perform oral sex on
            HARRIS in a bathroom at a Texas cheerleading event.

      •     HARRIS admitted to texting Minor 1 while HARRIS and Minor 1 were at a
            cheerleading event in Florida attempting to entice Minor 1 to meet HARRIS
            at a secluded bathroom where HARRIS intended to engage in oral sex with
            Minor 1.

      •     HARRIS admitted sending Minor 2 the text message depicted above in
            Paragraph 27 and the intent of the message was inquiring if Minor 2 was
            interested in engaging in sexual acts with HARRIS. More specifically,
            HARRIS admitted he used the four **** symbols to mean the word “fuck.”

      •     HARRIS admitted to soliciting and receiving child pornography on
            Snapchat from at least between 10 to 15 other individuals he knew were
            minors.




                                          24
       Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 26 of 28 PageID #:26




         •     HARRIS admitted to engaging in anal and oral sex with a 15 year old minor
               (Minor 3) at a cheer event in 2019. 14

                 g.     Interviews of Minors 4 and 515

         32.      On September 15, 2020, law enforcement interviewed two minor

individuals (Minors 4 and 5) who contacted law enforcement regarding HARRIS.

Minor 4 stated he met HARRIS at a party during the Summer of 2020. 16 Minor 4

stated HARRIS asked him how old he was and Minor 4 stated he was 17. Minor 4

stated HARRIS later contacted him on Snapchat and asked Minor 4 for photographs

of his buttocks. Minor 4 initially told HARRIS no and HARRIS blocked Minor 4 on

Snapchat. Minor 4 stated that two weeks later HARRIS again contacted Minor 4 on

Snapchat and asked him for naked photographs of Minor 4.

         33.      Minor 4 described HARRIS as relentless and asking for naked photos of

Minor 4 for three straight hours. Minor 4 stated that HARRIS later offered Minor 4

money for naked photographs of Minor 4. Eventually Minor 4 agreed and HARRIS

sent Minor 4 $100 through an electronic payment application as a sign of good faith. 17


14HARRIS provided law enforcement with the location of the event, as well as the name and
age of Minor 3. To protect the identity of Minor 3, I am not listing that information here.
HARRIS further admitted he started talking to Minor 3 on Snapchat when Minor 3 was just
13 years old. HARRIS stated that he asked Minor 3 to send him child pornography images
on Snapchat, which Minor 3 did on multiple occasions. HARRIS stated that immediately after
the in-person sexual encounter with Minor 3 all communications ceased between HARRIS
and Minor 3.
15   Minors 4 and 5 are both currently 17 years old.
16Minor 4 provided law enforcement with a video of Snapchat communications between
Minor 4 and the Snapchat account previously identified by HARRIS as his Snapchat account.
Minor 4 also provided law enforcement with an audio-recording of an interaction between
Minor 4 and an individual Minor 4 identified as HARRIS.
17 Minor 4 provided law enforcement with multiple screenshots of electronic payment
transfers from an account named “Jeremiah Harris” to Minor 4.



                                               25
     Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 27 of 28 PageID #:27




HARRIS gave Minor 4 specific instructions about what type of photographs he

wanted from Minor 4 stating he wanted to see “butt hole.”

       34.        Minor 4 told Minor 5, who was also 17 years old at the time, about what

was happening with HARRIS, and Minor 5 agreed to take photographs of himself and

told Minor 4 he could use those photographs to send to HARRIS. Minor 5 sent the

naked photographs to Minor 4 who sent them to HARRIS over the Snapchat

application. 18

       35.    During one of the conversations between Minor 4 and HARRIS which

took place over a Snapchat video call, Minor 4 stated HARRIS masturbated on the

call while giving Minor 4 instructions about what to do. For example, at one point

during the Snapchat call, Minor 4 stated that HARRIS instructed him to “spread his

ass cheeks” and “show his butthole” for the camera. 19 Minor 4 complied with this

request and performed these actions during the video. HARRIS paid Minor 4 $500

for this video call.

       36.    During another Snapchat conversation between Minor 4 and HARRIS,

HARRIS asked Minor 4 to send HARRIS photographs of Minor 4’s penis. HARRIS

requested photographs of Minor 4’s penis stating he wanted two “hard” photos and

one “soft” photo of the penis. Minor 4 obtained these photographs from Minor 5 and

sent them to HARRIS.



18In his interview with law enforcement, HARRIS admitted to having child pornography
images of Minor 4 on his cell phone.
19Law enforcement recovered a video from HARRIS’ cell phone of what appears to be Minor
4 performing the actions Minor 4 described during this video encounter.



                                             26
    Case: 1:20-cr-00637 Document #: 1 Filed: 09/17/20 Page 28 of 28 PageID #:28




      37.   HARRIS continued to contact Minor 4 throughout the Summer of 2020

and paid Minor 4 a total of approximately between $2,000 and $3,000. Minor 4 last

spoke to HARRIS on August 22, 2020, when HARRIS sent Minor 4 $500 to end the

relationship and block HARRIS on Snapchat.

      38.   Based on the above information, there is probable cause to believe that

Jerry HARRIS knowingly employed, used, persuaded, induced, enticed, and coerced

a minor, namely Minor 1, to engage in sexually explicit conduct for the purpose of

producing a visual depiction of such conduct, which visual depiction defendant knew

and had reason to know would be transported and transmitted using any means and

facility of interstate and foreign commerce, and which visual depiction was

transported and transmitted using any means and facility of interstate and foreign

commerce.

      FURTHER AFFIANT SAYETH NOT.

                                             ____________________________
                                              /s/ Edward Augustus Goodman (MDW with permission)
                                             Edward Augustus Goodman
                                             Special Agent
                                             Federal Bureau of Investigation


Subscribed and sworn
telephonically this 17th day of September, 2020



Honorable M. David Weisman
United States Magistrate Judge




                                        27
